   Case 2:10-cr-00186-MHT-WC Document 1788 Filed 08/31/11 Page 1 of 3




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JARROD D. MASSEY                   )           (WO)


                          OPINION AND ORDER

    Before the court is defendant Jarrod D. Massey’s

motion,    filed    August   29,   2011,      for   release,     pending

sentencing, on the previously set conditions of bond.                     A

hearing was held on August 31, 2011.

    On October 1, 2010, a grand jury returned a 14-count

indictment against Massey charging him with a number of

crimes    related    to    conspiracy,      bribery,       and   honest-

services    fraud.        Following     his    arrest,     Massey       was

released on a $ 300,000 bond, subject to conditions of

release.    Pursuant to a plea agreement, he pleaded guilty

to six of the conspiracy and bribery charges, and the

remaining     honest-services          charges      were    dismissed.

Massey’s motion for voluntary surrender was filed and
     Case 2:10-cr-00186-MHT-WC Document 1788 Filed 08/31/11 Page 2 of 3




granted January 14, 2011.             Massey’s current motion for

release, pending sentencing, followed.

      Under 18 U.S.C.§ 3143(a), defendants may seek release

from detention pending sentencing where “the judicial

officer finds by clear and convincing evidence that the

person is not likely to flee or pose a danger to the

safety of any other person or the community if released,”

subject to the conditions of 18 U.S.C. § 3142(b)-(c).

From there, the statutory language provides: “If the

judicial officer makes such a finding, such judicial

officer     shall    order     the    release     of    the   person       in

accordance with section 3142(b) or (c).”                  At the August

31    hearing     before     the     court   on    this    matter,        the

government conceded that Massey has satisfied all of the

requirements of §§ 3143 and 3142.                      The court finds

similarly.       Therefore, pursuant to the statute, Massey

should be released.

                                     ***




                                      2
   Case 2:10-cr-00186-MHT-WC Document 1788 Filed 08/31/11 Page 3 of 3




    Accordingly, it is ORDERED that defendant Jarrod D.

Massey’s motion for release pending sentencing (doc. no.

1774) is granted. The magistrate judge is to set the

conditions of release.

    DONE, this the 31st day of August, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
